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                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA

                                 RELATED CASE ORDER

      An Administration Motion to Have Cases Designated as Related has been filed,
requesting a determination as to whether the following cases are related within the
meaning of Civil L.R. 3-12:

       C 17-3488 MMC         Miller v. Amazon.com, LLC
       C 18-5222 MMC         Champion v. Amazon.com LLC, et al.,

       On the basis of the material submitted to the Court, as the Judge assigned to the
earliest filed case, I find that the cases:

              [   ] ARE NOT RELATED as defined by Civil L.R. 3-12(a).

              [ X ] ARE RELATED as defined by Civil L.R. 3-12(a).

         Pursuant to Civil L.R. 3-12(f)(3), the Clerk of Court is ordered to reassign the
later-filed action to the undersigned. The parties are instructed that all future filings in
the later-filed action are to bear the initials MMC immediately after the case number.
Any case management conference in the reassigned case will be rescheduled by the
Court. Any dates for hearing noticed motions are vacated and must be re-noticed by
the moving party before the undersigned; any deadlines set by the ADR Local Rules
remain in effect; and any deadlines established in a case management order continue
to govern, except dates for appearances in court, which will be rescheduled by the
undersigned.


DATED: April 17, 2019

                                                      MAXINE M. CHESNEY
                                                      United States District Judge
